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ATTORNEY FOR DEBTOR


                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                               §
                                                     §
PREFERRED READY-MIX LLC,                             §            CASE NO. 21-33369
                                                     §
         Debtor.                                     §                 Chapter 11

                                            BALLOT TALLY

       Preferred Ready-Mix LLC (the “Debtor”), submits the following tally of Ballots received
in connection with confirmation of its Plan of Reorganization:

         Class 1        Allowed Secured Claims of BankDirect Capital Finance and Wayne C.
                        Tyson.

                        Wayne C. Tyson voted to reject the Plan. The amount of Wayne C. Tyson’s
                        claim is $19,097.83.

                                   Class 1 voted to reject the Plan.

         Class 2        Allowed Secured Claim of FundThrough USA, Inc.

                                   No votes received.

         Class 3        Allowed General Unsecured Claims, excluding Insiders.

                        AG Barn Management, LLC voted to reject the Plan. The amount of AG
                        Barn Management, LLC’s claim is $28,189.61.

                        Con-Tech Manufacturing, Inc. voted to accept the Plan. The amount of
                        Con-Tech Manufacturing, Inc.’s claim is $13,287.66.

                        Matthew W. Tyson voted to reject the Plan. The amount of Matthew W.
                        Tyson’s claim is $54,386.53



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Number of Votes Received:            3               Dollar Amount Voting:        $95,863.80
Number of Votes Accepting Plan:      1               Dollar Amount Accepting:     $13,287.66
Number of Votes Rejecting Plan:      2               Dollar Amount Rejecting:     $82,576.14

                              Class 3 voted to reject the Plan.

         Class 4       Allowed Unsecured Claims of Insiders.

                              No votes received.

         Class 5       Allowed Equity Interest Holders.

                              No votes received.

         Dated: February 1, 2022.

                                                     Respectfully submitted,

                                                       /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer
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                                                     ATTORNEY FOR DEBTOR




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 1, 2022, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s ECF system upon the parties
listed below.

Robert W Berleth on behalf of Attorney Robert Berleth
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Allison D Byman
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cadb11@trustesolutions.net; rah@bymanlaw.com

Hector Duran, Jr on behalf of U.S. Trustee US Trustee
Hector.Duran.Jr@usdoj.gov



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Brendon D Singh on behalf of Creditor Alisons Inc. LLC
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                                                    /s/ Joyce W. Lindauer
                                                  Joyce W. Lindauer




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